 Wendy J. Olson, ISB No. 7634
 wendy.olson@stoel.com
 Elijah M. Watkins, ISB No. 8977
 elijah.watkins@stoel.com
 Cory M. Carone, ISB No. 11422
 cory.carone@stoel.com
 STOEL RIVES LLP
 101 S. Capitol Boulevard, Suite 1900
 Boise, ID 83702
 Telephone: 208.389.9000
 Facsimile: 208.389.9040

 Attorneys for Plaintiff




                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    NOTICE OF DEFENDANT’S
                                                          ACCEPTANCE OF SERVICE
          v.

 ASHLEY GUILLARD,

                            Defendant.


         On March 7, 2023, Plaintiff filed her Notice Regarding Service alerting the Court that when

she tried to serve her Motion to Strike Defendant’s Answer, Affirmative Defenses and

Counterclaims to Complaint via UPS overnight mail, Plaintiff received a return from UPS stating

“receiver did not want, refused delivery.” That same day, Plaintiff sent her Motion to Strike (ECF

12) and her Notice Regarding Service (ECF 13) to Defendant using the email address

msashleyjt@gmail.com. On March 13, 2023, Defendant acknowledged receipt of the email and

advised that she would submit a new mailing address to the Court.




NOTICE OF DEFENDANT’S ACCEPTANCE OF SERVICE - 1
118802673.1 0079747-00001
          DATED: March 14, 2023.

                                    STOEL RIVES LLP



                                    /s/ Wendy J. Olson
                                    Wendy J. Olson
                                    Elijah M. Watkins
                                    Cory Carone

                                    Attorneys for Plaintiff




NOTICE OF DEFENDANT’S ACCEPTANCE OF SERVICE - 2
118802673.1 0079747-00001
                              CERTIFICATE OF SERVICE

    I hereby certify that on March 14, 2023, I served a copy of the foregoing NOTICE OF
DEFENDANT’S ACCEPTANCE OF SERVICE via overnight mail as follows:

         Ashley Guillard
         3262 Westheimer Rd. #942
         Houston, TX 77098



                                         /s/ Wendy J. Olson
                                         Wendy J. Olson




NOTICE OF DEFENDANT’S ACCEPTANCE OF SERVICE - 3
118802673.1 0079747-00001
